IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,

PENNSYLVANIA
CHRISTINE BIROS, Case No, 17 CJ 04886
Plaintiff,
vs. U LOCK INC.’S RESPONSE
AND OBJECTIONS TO THE
EXHIBITS FILED BY
CHRISTINE BIROS
U LOCK INC.
Defendant.
Filed on behalf of:
ULOCKINC., Defendant.
Counsel of record for this party:
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PENNSYLVANIA
CHRISTINE BIROS, ) Case No. 17 CJ 04886
)
Plaintiff, )
)
vs. )
)
U LOCK INC., )
)
Defendant. )

DEFENDANT U LOCK INC,'S RESPONSE AND OBJECTIONS TO THE EXHIBITS

FILED BY CHRISTINE BIROS
Defendant U Lock Inc., by and through its counsel, J. Allen Roth, submits this, its
Response to the Exhibits Filed by Christine Biros:

1. On May 5, 2022, counsel for Christine Biros served a letter along with
exhibits. In that letter, counsel asks this Court for leave to discuss other
matters as well. In addition, counsel followed up with a letter stating he
would present this “evidence” on May 20, 2022,

2. Based on information received by email on May 12, 2022, from Shanni
Snyder, a non party in this action, a petition for bankruptcy was filed in
April 2022 against Defendant. Pursuant to federal bankruptcy law an
automatic stay prevents U Lock from lawfully moving forward. U Lock
separately filed a Notice of Bankruptcy.

3. While the petition was involuntary, meaning U Lock did not file it, the
statute regarding automatic stays, 11 USC 362(a) includes involuntary

petitions filed under 11 USC 303.
. In addition to jurisdictional issues already pointed out at the hearing,
including the status of the Supreme Court of Pennsylvania case, if this
Court chooses to nevertheless proceed, U Lock also objects to the sanctions
motion for the reasons stated in its brief.

. U Lock suggests that if this Court were inclined to grant counsel fees for U
Lock simply preserving the issue for appeal, then actually appealing a legal
issue that this Court (and the appeals courts) never reached the merits of
and simply said was not relevant, the fees attributed to the issue seem
excessive, Most of the highlighted occurrences had nothing to do with the
issue.

. Counsel for the Plaintiff appears to have spent much more time on the issue
than was warranted.

. Moreover the charges listed on the invoices appear to combine the other
issues not just the defense of unclean hands. This Court should recall that it
denied the vast majority of Biros’ preliminary objections.

. As to counsel’s argument that he can take action against discharged alleged
debts because they were not included in the schedules lacks merit. 'The fact
that the debt was not included in the petition does not eliminate its
discharge. Judd v. Wolfe, 78 F3d 110 (3d Cir. 1996) (“The plain language of
section 5238(a)(3) represents a congressional policy choice. Clearly, Congress
could have exempted from the debtor's discharge, pursuant to sections
727(b) and 523, debts that were omitted intentionally, rather than merely

inadvertently, from the debtor's schedules. Congress chose not to do so”); In
re Beezley, 994 F.2d 1433 (9th Cir. 1993). Plaintiff cites no case to the
contrary.’
WHEREFORE, to the extent this Court maintains jurisdiction, Defendant U Lock

respectfully requests that this Court deny the motion for sanctions.

Respectfully submitted,
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ATTORNEY FOR U LOCK INC.

 

' Counsel did not list the alleged debt in the schedules because Plaintiff never claimed something was

owed prior to 2022. Indeed, this present motion for sanctions is time barred regardless how the matter
is looked at.
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CERTIFICATE OF SERVICE
I certify that I mailed a true copy of the foregoing to the following parties on this
18th day of May, 2022:

Hon. Harry F. Smail

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